     Case 8:22-cv-01562-JWH-KES         Document 48    Filed 02/09/23   Page 1 of 29 Page ID
                                              #:450



 1                                                    Gretchen Elsner (pro hac vice)
       Paige M. Tomaselli (SBN 237737)
 2     Dylan D. Grimes (SBN 302981)                   ELSNER LAW & POLICY, LLC
       GRIME LAW LLP                                  314 South Guadalupe Street, Suite 123
 3     730 Arizona Avenue                             Santa Fe, NM 87501
 4     Santa Monica, CA 90401                         Telephone: (505) 303-0980
       Telephone: (310) 747-5095                      gretchen@elsnerlaw.org
 5     ptomaselli@grimelaw.com
       dgrimes@grimelaw.com
 6

 7     Attorneys for Plaintiffs
 8
                            UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10                               SOUTHERN DIVISION

11                                                    Case No. 8:22-cv-01562-JWH-KES
       SARA SAFARI, PEYMON
12     KHAGHANI, on behalf of themselves              PLAINTIFFS SARA SAFARI,
       and all others similarly situated, and
13
       FARM FORWARD, on behalf of the                 PEYMON KHAGHANI and FARM
14     general public,                                FORWARD’S OPPOSITION TO
                                                      DEFENDANTS’ MOTION TO
15                        Plaintiffs,                 DISMISS
16           v.
                                                      Date: March 10, 2023
17
       WHOLE FOODS MARKET                             Time: 9:00 a.m.
18     SERVICES, INC., a Delaware                     Department: 9D, 9th Floor
       corporation, WHOLE FOODS                       Judge: Hon. John W. Holcomb
19     MARKET CALIFORNIA, INC., a
       California corporation, MRS.                   Complaint Filed: August 23, 2022
20     GOOCH’S NATURAL FOOD                           Trial Date: Not Set
21     MARKETS, INC. doing business as
       Whole Foods Market, a California               Jury Trial Demanded
22     Corporation,
23                        Defendants.
24

25

26

27


                  PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
     Case 8:22-cv-01562-JWH-KES                     Document 48            Filed 02/09/23          Page 2 of 29 Page ID
                                                          #:451



 1
                                                    TABLE OF CONTENTS
 2

 3    INTRODUCTION.............................................................................................................1
 4
      FACTUAL BACKGROUND ...........................................................................................2
 5

 6    STANDARD OF REVIEW ..............................................................................................4

 7    ARGUMENT .....................................................................................................................5
 8
           I. Plaintiffs Have Alleged Sufficient Facts to Establish Standing .......................5
 9
               A.        Consumer Plaintiffs Have Standing ...............................................................5
10
                  1.     The Consumers Pled a Particularized and Concrete Injury ...........................5
11

12                2.     The Consumer Plaintiffs Pled an Economic Injury .....................................10
13             B. Farm Forward Alleged Organizational Standing.............................................12
14                1.     Farm Forward Alleged Frustration of Mission. ...........................................13
15
                  2. Farm Forward Diverted Resources to Combat Defendants’ Misleading
16                Representations. ....................................................................................................15
17         II. Plaintiffs Plead with Particularity ...................................................................18
18
           III.        Plaintiffs Plead Breach of Warranty ...........................................................20
19
           IV.         Plaintiffs Plead Unjust Enrichment .............................................................21
20

21    CONCLUSION................................................................................................................21
22

23

24

25

26

27

                        PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
                                                    i
     Case 8:22-cv-01562-JWH-KES                   Document 48            Filed 02/09/23          Page 3 of 29 Page ID
                                                        #:452



 1
                                               TABLE OF AUTHORITIES

 2
                                                                 Cases
 3

 4
      Am. Diabetes Ass’n v. U.S. Dep’t of the Army, 938 F.3d 1147 (9th Cir. 2019) 13,15
 5
      Annunziato v. eMachines, Inc., 402 F. Supp.2d 1133 (C.D. Cal. 2005) ..........................20
 6
      Ashcroft v. Iqbal, 556 U.S. 662 (2009) ...............................................................................4
 7
      Astiana v. Hain Celestial Grp., Inc., 783 F.3d 753 (9th Cir. 2015) .................................21
 8
      Barnes v. Nat. Organics, Inc., 2022 WL 4283779 (C.D. Cal. Sept. 13, 2022) ..................9
 9
      Bell Atlantic Corp. v. Twombly, 550 U.S. 540 (2007) ........................................................4
10
      Bennett v. Spear, 520 U.S. 154 (1997) .........................................................................4, 12
11
      Blennis v. Hewlett Packard Co., 2008 WL 818526 (N.D. Cal. Mar. 25, 2008) ...............20
12
      Clancy v. Bromley Tea Co., 308 F.R.D. 564 (N.D. Cal. 2013) ........................................18
13
      Dinosaur Development, Inc. v. White, 216 Cal.App.3d 1310 (1989)...............................21
14
      Fair Hous. Council v. Roommate.com LLC, 666 F.3d 1216 (9th Cir. 2012) ...................13
15
      Freeman v. Time, 68 F.3d 285 (9th Cir. 1995) .................................................................19
16
      Friends of the Earth v. Laidlaw Envtl. Servs., 528 U.S. 167 (2000) ................................12
17
      Havens Realty Corp. v. Coleman, 455 U.S. 363 (1982) .............................................12, 14
18
      Herb Reed Enterprises, LLC v. Florida Entertainment Mgmt, Inc. (9th Cir. 2013) 736
19     F.3d 1239, 1250 .............................................................................................................15
20    Hinojos v. Kohl’s Corp., 718 F.3d 1098 (9th Cir. 2013)…..…………….………….11,12
21    Hodsdon v. Mars, 162 F.Supp.3d 1016 (N.D. Cal. Feb. 17, 2016) ...................... 6,7,10,11
22    Hubbard Business Plaza v. Lincoln Liberty Life Ins. (D.Nev. 1986) 649 F. Supp. 1310,
       1317, affd. (9th Cir. 1988) 844 F.2d 792 .....................................................................15
23
      In Defense of Animals v. Sanderson, 2021 WL 4243391 (N.D. Cal. Sept. 17, 2021)......14
24
      Whitson v. Bumbo, 2009 WL 1515597 (N.D. Cal. Apr. 16, 2009)...................................10
25
      Jimenez v. Tsai, 2017 WL 2423186 (N.D. Cal. June 5, 2017) .........................................14
26
      Kwikset v. Superior Court, 51 Cal.4th at 330 (2011) .......................................................11
27

                      PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
                                                  ii
     Case 8:22-cv-01562-JWH-KES                       Document 48              Filed 02/09/23           Page 4 of 29 Page ID
                                                            #:453


      Leoni v. State Bar, 39 Cal.3d 609, 626, 217 Cal.Rptr. 423, 704 P.2d 183 (1985) ...........19
 1
      Levine v. Vilsack, 587 F.3d 986 (9th Cir. 2009) .................................................................4
 2
      Lujan v. Defs. of Wildlife, 504 U.S. 555 (1992) .................................................................5
 3
      Havens Realty Corp. v. Coleman, 455 U.S. 363 (1982) ...................................................12
 4
      Maya v. Centex Corp., 658 F.3d 1060 (9th Cir. 2011) .......................................................4
 5
      McCoy v. Nestle USA, Inc., 730 F. App’x 462 (9th Cir. 2018) ..........................................6
 6
      McCoy v. Nestle, USA, Inc., 173 F. Supp. 3d 954 (N.D. Cal. 2016) .................... 6, 8, 9,11
 7
      Melchior v. New Line Productions, Inc., 106 Cal.App.4th 779 (2003)............................21
 8
      Monsanto Co. v. Geertson Seed Farms, 561 U.S. 139 (2010) ...........................................5
 9
      MySpace, Inc. v. Wallace (C.D. Cal. 2007) 498 F.Supp.2d 1293 ....................................15
10
      Oceguera v. Baby Trend, Inc., 2022 WL 1599869 (C.D. Cal. Jan. 14, 2022) .................10
11
      Open Text, Inc. v. Northwell Health, Inc., 2020 WL 8025315 (C.D. Cal. Dec. 11, 2020)
12      .......................................................................................................................................11
13    Pierce v. Ducey, 965 F.3d 1085 (9th Cir. 2020) ...............................................................14
14    Rice-Sherman v. Big Heart Pet Brands, Inc., 2020 WL 1245130 (N.D. Cal. Mar. 16,
        2020) ................................................................................................................................9
15
      Rosales v. FitFlop USA, LLC, 882 F. Supp. 2d 1168 (S.D. Cal. 2012)............................20
16
      Rutherford Holdings, LLC v. Plaza Del Rey, 223 Cal.App.4th 221, 166 Cal.Rptr.3d 864,
17      872 (2014)......................................................................................................................21
18    Sabra v. Maricopa County Community College, 44 F.4th 867 (2022)................ 15, 16, 17
19    Semegen v. Weidner, 780 F.2d 727 (9th Cir. 1985) ..........................................................18
20    Skilstaf, Inc. v. CVS Caremark Corp., 669 F.3d 1005 (9th Cir. 2012) ...............................4
21    Smith v. Pac. Props. & Dev. Corp., 358 F.3d 1097 (9th Cir. 2004)...................................5
22    Spokeo Inc. v. Robins, 136 S. Ct. 1540 (2016) ...................................................................5
23    Stuhlbarg Int’l Sales Co. v. John D. Brush and Co., Inc. 240 F.3d 832 (9th Cir. 2001)..15
24    Swartz v. KPMG LLP, 476 F.3d 756 (9th Cir. 2007) .......................................................18
25    Vess v. Ciba-Geigy Corp. USA, 317 F. 3d 1097 (9th Cir. 2003) ......................................18
26    Wallace v. ConAgra Foods, Inc., 747 F.3d 1025 (8th Cir. 2014) ......................................8
27    Whitson v. Bumbo, 2009 WL 1515597 (N.D. Cal. Apr. 16, 2009)...................................10
                        PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
                                                    iii
     Case 8:22-cv-01562-JWH-KES                    Document 48           Filed 02/09/23          Page 5 of 29 Page ID
                                                         #:454


      Zamani v. Carnes, 491 F.3d 990 (9th Cir. 2007) ..............................................................13
 1

 2
                                              Federal Rules of Civil Procedure

 3    Federal Rule 9(b) ...........................................................................................................1,18

 4    Federal Rule Rule 12(b) ......................................................................................................1

 5    Federal Rule Rule 12(b)(1) .......................................................................................4, 9, 10

 6    Federal Rule Rule 12(b)(6) .................................................................................................4

 7

 8
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

                      PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
                                                  iv
     Case 8:22-cv-01562-JWH-KES       Document 48     Filed 02/09/23    Page 6 of 29 Page ID
                                            #:455



 1                                           INTRODUCTION
 2          Plaintiffs’ First Amended Class Action Complaint easily satisfies Rule 12(b) and
 3    Rule 9(b) pleading requirements. See First Amended Complaint (FAC), ECF No. 35.
 4    Defendants repeatedly market all their Beef Products as “No Antibiotics, EVER,” even
 5    though antibiotics are used in Whole Foods’ supply chain. Consumer Plaintiffs Sara Safari
 6    and Peymon Khaghani (Consumer Plaintiffs) and public interest organization Plaintiff
 7    Farm Forward (collectively, Plaintiffs) have standing to challenge Defendants’ (various
 8    Whole Foods entities) misleading statements.
 9          In the First Amended Complaint, all three Plaintiffs address how Defendants’
10    misrepresentations—promising “No Antibiotics, EVER” despite antibiotics use in
11    Defendants’ supply chain—harmed them. The Consumer Plaintiffs would not have
12    purchased Defendants’ beef products or would not have paid what they did pay if they had
13    known that the cattle used in Defendants’ products were raised with antibiotics. FAC ¶¶
14    15, 22. The Consumer Plaintiffs exemplify consumer concern regarding antibiotics use in
15    agriculture and the harm to consumers from Defendants’ misleading statements. On top
16    of advertising the “No Antibiotics, Ever” standard, Defendants promised consumers, “[i]f
17    it doesn’t meet our standards, we won’t sell it,” misleading consumers into thinking that
18    Defendants have verified compliance with its standard. FAC ¶ 45. Plaintiffs Safari and
19    Khaghani “purchased the Beef Products at a premium price because, based on Whole
20    Foods’ representations,” they “believed all Beef Products available for sale from Whole
21    Foods were derived from cattle raised without antibiotics or pharmaceuticals.” FAC ¶¶
22    13, 20. “Choosing antibiotic-free meat is important to” Consumer Plaintiffs because they
23    do “not want to fund or support a farming model that uses pharmaceuticals, including
24    antibiotics” because it contributes to the rise of antibiotic-resistant bacteria,” “may leave
25    pharmaceutical residue in the meat,” and is indicative of “crowded, unsanitary” farming
26    conditions that the Consumer Plaintiffs are opposed to. FAC ¶¶ 13, 20. As a result of this
27    deception, Whole Foods sold Consumer Plaintiffs Beef Products they otherwise would not

                  PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
                                              1
     Case 8:22-cv-01562-JWH-KES       Document 48     Filed 02/09/23    Page 7 of 29 Page ID
                                            #:456



 1    have purchased, or at the very least, not at the inflated prices they paid. FAC ¶ 56. For
 2    Plaintiff Farm Forward, Defendants’ misrepresentations frustrated Farm Forward’s
 3    mission and caused Farm Forward to divert “significant resources addressing Whole
 4    Foods’ misinformation.” FAC ¶ 80.
 5          Plaintiffs’ allegations are specific enough to give Defendants notice of the particular
 6    misconduct that constitutes fraud so that they can defend against the charge. Plaintiffs also
 7    plead the elements of unjust enrichment and breach of warranty. Thus, this Court should
 8    deny Defendants’ motion.
 9

10                                     FACTUAL BACKGROUND
11          Consumer Plaintiffs Sara Safari and Peymon Kaghani are representative Whole
12    Foods shoppers. They purchased beef at Whole Foods because they believed that Whole
13    Foods sold only Beef Products that were not raised with antibiotics and that Whole Foods
14    verified this claim. FAC ¶ 7. Plaintiff Farm Forward is a public interest organization that
15    works with farmers, ranchers, and retailers so that these companies can provide consumers
16    with healthier, ethically sourced Beef Products. All Plaintiffs relied on Defendants’
17    statements about their products and were deceived into purchasing, or promoting as is the
18    case with Farm Forward, Defendants’ Beef Products.
19          Consumers—like Consumer Plaintiffs—rely on Defendants to tell the truth.
20    Grocery companies are a primary source of meat products consumed in American
21    households and a main source for consumers for information about these products. Most
22    U.S. consumers demand meat raised without the routine use of antibiotics, and 40 percent
23    of consumers “always” or “often” purchase meat advertised as raised without antibiotics
24    at the supermarket. FAC ¶ 4. Yet companies, like Defendants, can give the public the false
25    impression that they have implemented meaningful change. Id. This type of language is
26    commonly referred to as “greenwashing”: making unsubstantiated, misleading, or
27    untruthful claims that lead consumers to believe their products or the supply chain from

                  PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
                                              2
     Case 8:22-cv-01562-JWH-KES      Document 48      Filed 02/09/23   Page 8 of 29 Page ID
                                           #:457



 1    which they come are more sustainable, less harmful, or more ethical than they are. FAC ¶
 2    4.
 3          Antibiotics use in Beef Products’ supply chain is an issue that consumers are deeply
 4    concerned about. According to a 2018 Consumer Reports study, six out of ten consumers
 5    were willing to pay more for meat raised without antibiotics and 43% of Americans always
 6    or often looked for meat marketed as “raised without antibiotics.” Even at the time of the
 7    2018 study, 32% of Americans knew someone who had a bacterial infection where
 8    antibiotics were ineffective in curing an illness; and 43% of Americans were highly
 9    concerned that feeding antibiotics to animals may diminish effectiveness of antibiotics in
10    humans. FAC ¶ 5. Defendants capitalize on these concerns by charging a premium for
11    Beef Products, all which are marketed as “No Antibiotics, EVER.” FAC ¶¶ 7, 13, 20, 27.
12          Defendants’ Beef Products are certified by its partner, Global Animal Partnership
13    (GAP). GAP was founded, funded, and staffed by Whole Foods. FAC ¶¶ 51, 52, 71. When
14    a third party, FoodID, tested 699 “raised without antibiotics” cattle, the expectation was
15    that zero animals would test positive for antibiotics. FAC ¶ 62. But 42% of feedyards
16    providing “raised without antibiotics” cattle had at least one animal test positive. FAC
17    ¶ 62(a). When FoodID separately analyzed the evidence of antibiotics residue in GAP
18    rated cattle, FoodID found that approximately 26% of GAP cattle came from a lot where
19    at least one animal tested positive, and 22% of GAP certified cattle came from a lot where
20    two animals tested positive for antibiotics. FAC ¶ 62(c). As the scientists stated in their
21    peer-reviewed journal article, “both animals testing positive from a lot would suggest a
22    systemic problem” in the supply chain. FAC ¶ 62 (emphasis added).1
23

24
      1
       Laboratory testing results revealed a systemic problem in GAP certified beef, even
25
      though antibiotics residue testing can detect only pharmaceutical residues that the cattle
26    did not fully metabolize. Antibiotics residue testing does not definitely determine
27
      whether antibiotics were used (because they could have metabolized) and antibiotics
      residue testing does not determine if Defendants verified their promises to consumers.

                 PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
                                             3
     Case 8:22-cv-01562-JWH-KES       Document 48     Filed 02/09/23   Page 9 of 29 Page ID
                                            #:458



 1          Defendants had actual and constructive knowledge of antibiotics use in their supply
 2    chain and in their own Beef Products. Beef purchased from Whole Foods tested positive.
 3    A peer reviewed study confirmed that the problem is systemic, including for beef certified
 4    by GAP, the certification program used by Whole Foods. Yet Whole Foods has continued
 5    to promise consumers that all its meat is raised without antibiotics. FAC ¶¶ 69-71.
 6

 7                                      STANDARD OF REVIEW
 8          In considering motions to dismiss for lack of subject matter jurisdiction under Rule
 9    12(b)(1) or for failure to state a claim under Rule 12(b)(6), a court must construe the
10    complaint liberally, accepting all allegations as true and drawing all reasonable inferences
11    in plaintiffs’ favor. Maya v. Centex Corp., 658 F.3d 1060, 1068 (9th Cir. 2011); Ashcroft
12    v. Iqbal, 556 U.S. 662, 678 (2009). Similarly, courts “presume that general allegations
13    embrace those specific facts that are necessary to support the claim.” Maya, 658 F.3d at
14    1068; Levine v. Vilsack, 587 F.3d 986, 991 (9th Cir. 2009). The requisite showing for
15    constitutional standing at the motion to dismiss stage is “relatively modest.” Bennett v.
16    Spear, 520 U.S. 154, 171 (1997). In reviewing a motion to dismiss for failure to state a
17    claim, a court must accept “all factual allegations in the complaint as true” and construe
18    them “in the light most favorable to the nonmoving party.” Skilstaf, Inc. v. CVS Caremark
19    Corp., 669 F.3d 1005, 1014 (9th Cir. 2012). A court must deny the motion so long as the
20    factual allegations in the complaint, accepted as true, “state a claim to relief that is
21    plausible on its face.” Bell Atlantic Corp. v. Twombly, 550 U.S. 540, 555 (2007).
22

23

24

25

26

27


                  PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
                                              4
     Case 8:22-cv-01562-JWH-KES       Document 48 Filed 02/09/23        Page 10 of 29 Page ID
                                            #:459



 1                                              ARGUMENT
 2    I.     Plaintiffs Have Alleged Sufficient Facts to Establish Standing.
 3          Article III of the U.S. Constitution authorizes the judiciary to adjudicate only
 4    “cases” and “controversies.” The doctrine of standing is “an essential and unchanging part
 5    of the case-or-controversy requirement of Article III.” Lujan v. Defs. of Wildlife, 504 U.S.
 6    555, 560 (1992). “Article III standing requires a concrete injury even in the context of a
 7    statutory violation.” Spokeo Inc. v. Robins, 136 S. Ct. 1540, 1543 (2016). The three well-
 8    known “irreducible constitutional minim[a] of standing” are injury-in-fact, causation, and
 9    redressability. Lujan, 504 U.S. at 560–61. A plaintiff bears the burden of demonstrating
10    that her injury-in-fact is “concrete, particularized, and actual or imminent; fairly traceable
11    to the challenged action; and redressable by a favorable ruling.” Monsanto Co. v. Geertson
12    Seed Farms, 561 U.S. 139, 149 (2010). Organizations establish injury-in-fact if they can
13    demonstrate both (1) frustration of their organizational mission and (2) diversion of their
14    resources to combat the conduct in question. Smith v. Pac. Props. & Dev. Corp., 358 F.3d
15    1097, 1105 (9th Cir. 2004).
16          A.     Consumer Plaintiffs Have Standing.
17                 1.     The Consumers Pled a Particularized and Concrete Injury.
18          Consumer Plaintiffs are not expected to send a sample of every Beef Product they
19    purchase to a lab. Yet this is the impossible and unsupported standard that Defendants
20    advance. Defendants assert, (1) “Notably, the Individual Plaintiffs failed to allege any
21    facts demonstrating that the beef products they personally purchased were raised with
22    antibiotics . . .” Defendants’ Motion to Dismiss (Defs.’ Mot.) 8.2 And, (2) “Plaintiffs fail
23

24    2
       Defendants contend “the residue may have come from some type of contamination in
25    the processing of that beef product, from the testing itself or some other source.” Defs.’
26
      Mot. 9, n.4. If the antibiotic residue came from slaughterhouse contamination, that
      would still be contrary to Defendants’ “No Antibiotics, Ever” promise to meat
27    purchasers. Id. Moreover, the FAC does not allege that “antibiotic residue” is the injury.

                  PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
                                              5
     Case 8:22-cv-01562-JWH-KES       Document 48 Filed 02/09/23        Page 11 of 29 Page ID
                                            #:460



 1    to allege a link between the specific beef product each of them bought . . . and the beef
 2    product that was subjected to testing.” Defs.’ Mot. 9. Plaintiffs’ Complaint and
 3    accompanying injury arises from Defendants’ misrepresentations regarding antibiotics use
 4    in their beef supply chain and whether Defendants take the necessary steps to verify its
 5    extensive and clear promises.
 6          The consumer protection cases challenging Ivorian labor in the chocolate supply
 7    chain are instructive. In Hodsdon v. Mars, 162 F.Supp.3d 1016 (N.D. Cal. Feb. 17, 2016)
 8    the chocolate company defendant (Mars) made the same arguments that Defendants make
 9    here to assert that the consumer plaintiff did not have standing: Plaintiff Hodsdon “(1)
10    does not claim that he purchased chocolate containing cocoa beans harvested by children
11    or forced laborers; (2) cannot trace any of Mars’s chocolate to particular farms that use
12    the objectionable labor practices . . .” Id. at 1022. In rejecting those arguments and finding
13    that the consumer did have standing, the district court noted, “[t]he Ninth Circuit has
14    already rejected Mars’s first two arguments.” Id. Like here, the injury comes from the
15    objectionable practice in the supply chain:
16
            [T]he problem, according to Hodsdon, is that he was unaware that cocoa
17          harvested by children and forced laborers were in the supply chain, not that
18
            he purchased chocolate actually tainted by child labor. Hodsdon ties his harm
            to the lack of certainty about the source of the cocoa beans, not to consumption
19          of cocoa products actually harvested by child and forced laborers. In so doing,
20
            he has established injury in fact.

21    162 F.Supp.3d at 1022 (N.D. Cal. 2016), aff’d, 891 F.3d 857 (9th Cir. 2018) (italics in
22    original).
23          In a similar case, McCoy v. Nestle, USA, Inc., 173 F. Supp. 3d 954 (N.D. Cal.
24    2016), aff’d sub nom. McCoy v. Nestle USA, Inc., 730 F. App’x 462 (9th Cir. 2018), Nestlé
25

26    It alleges that the Consumer Plaintiffs’ purchase of a Beef Product from a supply chain
27
      that uses antibiotics and Defendants’ concomitant obfuscation of that truth while
      charging more for a product that is not what it is advertised to be, is the injury.

                   PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
                                               6
     Case 8:22-cv-01562-JWH-KES      Document 48 Filed 02/09/23         Page 12 of 29 Page ID
                                           #:461



 1    argued that plaintiff McCoy did not have an actual, particularized, injury. Nestlé could not
 2    trace the cocoa used in a particular chocolate product to a specific plantation, so there was
 3    no way to know whether slave labor was used to produce the consumer’s product. Id. at
 4    962. But because plaintiff had alleged that she would not have purchased Nestlé’s products
 5    if she had known the supply chain involved the labor abuses at issue, “regardless of where
 6    the cocoa in a particular chocolate bar originated,” she had standing. Id. at 962.3
 7          When a plaintiff alleges that the value of a product was “diminished” because
 8    consumers did not wish to support a supply chain that included severe labor abuses, the
 9    alleged damage—injury—is “done by the purchase itself, not by any contingency that
10    might happen after the purchase.” Id. at 964 (emphasis in original). Much like Defendants
11    here, there Nestlé argued that a UCL claim based on misrepresentation of labor practices
12    can only succeed where a plaintiff is certain that the objectionable practice was used to
13    produce the specific item that the plaintiff purchased. The court stated:
14          That argument would dictate that even if Nestlé had—hypothetically—
15          concealed Ivorian labor conditions from its customers, falsely labeled all of
            its chocolate as certified to be free of child labor, and run a fraudulent national
16
            ad campaign touting its child-labor-free chocolate, a customer who relied on
17          that false promotion would lack standing to sue for fraudulent business
            practices and false advertising so long as some fraction of Nestlé’s cocoa met
18
            those descriptions and the customer was unable to tell what labor conditions
19          produced the cocoa in the actual product he or she purchased. Such a result
            would undermine the holding of Hinojos and Kwikset.
20

21          Here, Consumer Plaintiffs allege that they would not have purchased Whole Foods’
22    “Beef Products, or would not have paid the prices they did, had they had known the truth
23    that cattle used in the Products were raised with antibiotics.” FAC ¶ 7. “Furthermore,
24    Consumer Plaintiffs would not have purchased Beef Products, or would not have paid the
25

26    3
        In both Hodsdon v. Mars and McCoy v. Nestlé, the consumer plaintiff had standing but
27
      the cases were dismissed on other grounds not applicable here, because here, Defendants
      have made affirmative representations.

                  PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
                                              7
     Case 8:22-cv-01562-JWH-KES       Document 48 Filed 02/09/23        Page 13 of 29 Page ID
                                            #:462



 1    prices they did, had they known the truth that Whole Foods does not effectively verify its
 2    ‘No Antibiotics, Ever’ representation.” Id. Plaintiffs allege that Defendants are concealing
 3    that their Beef Products were raised with antibiotics, that they are falsely advertising their
 4    Beef Products as certified “No Antibiotics, Ever,” and are running a fraudulent national
 5    ad campaign touting their allegedly antibiotic-free Beef Products. FAC ¶¶ 132, 138, 157,
 6    158. Defendants’ sweeping website statements include: “At Whole Foods Market: No
 7    Antibiotics EVER is our standard[,]” and “the best- tasting beef, pork and poultry you’ll
 8    find in a grocery store and no antibiotics, EVER!” FAC ¶ 45 (citing Whole Foods’
 9    website) (capitals in original). After repeatedly promising consumers, “No Antibiotics,
10    Ever,” Defendants also promise consumers, “If it doesn’t meet our standards, we won’t
11    sell it.” FAC ¶ 45. These statements misled Plaintiffs into believing that Whole Foods’
12    supply chain met these conditions. The Consumer Plaintiffs relied on that false promotion.
13          Thus, the injury is not conferred by purchasing a Beef Product that tests positive for
14    antibiotics. Consumer Plaintiffs’ injury is conferred by purchasing a product that is
15    devalued by the practices in Defendants’ supply chain regardless of whether any piece of
16    meat they purchase tests positive for antibiotics. Like the consumer in McCoy, Plaintiffs
17    here have alleged a fundamental misrepresentation about Whole Foods’ supply chain.
18          Consumer Plaintiffs paid a premium for Defendants’ assurance that their Beef
19    Products meet certain standards. If, as Plaintiffs allege, that the assurance turns out to be
20    meaningless, then in the Ninth Circuit, the premium that Plaintiffs paid is an actual,
21    personal, particularized injury that is cognizable under Article III. McCoy, 173 F. Supp.
22    3d at 964 (citing Hinojos v. Kohl’s Corp., 718 F.3d 1098, 1104 (9th Cir. 2013). Defendants
23    nevertheless argue that this Court should ignore courts in this Circuit and instead, apply a
24    rule from the Eighth Circuit. See Defs.’ Mot. 9-10 (citing Wallace v. ConAgra Foods, Inc.,
25    747 F.3d 1025, 1030–31 (8th Cir. 2014) (holding that customers lacked Article III
26    standing to bring a claim based on allegedly false advertising of a product as using 100%
27    kosher beef, where the plaintiffs could not show that the specific products they purchased

                  PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
                                              8
     Case 8:22-cv-01562-JWH-KES       Document 48 Filed 02/09/23       Page 14 of 29 Page ID
                                            #:463



 1    contained non-kosher beef)). “Wallace does not reflect the law of this Circuit.” Rice-
 2    Sherman v. Big Heart Pet Brands, Inc., No. 19-CV-03613-WHO, 2020 WL 1245130, at
 3    *6 (N.D. Cal. Mar. 16, 2020) (citing McCoy, 173 F. Supp. at 964 (“This Court respectfully
 4    disagrees with [Wallace]. In this Court’s view, if a customer has paid a premium for an
 5    assurance that a product meets certain standards, and the assurance turns out to be
 6    meaningless, the premium that the customer has paid is an actual, personal, particularized
 7    injury that is cognizable under Article III.”)). Indeed, “[i]t would be a bizarre result if
 8    sellers advertising food as halal or kosher, diamonds as conflict-free, or products as union-
 9    made could knowingly mix compliant and non-compliant products with impunity so long
10    as there was no way for a buyer to trace the specific item he or she purchased back to the
11    source.” McCoy, 173 F. Supp. 3d at 964. Plaintiffs have pled that they place less value on
12    a Beef Product produced from a supply chain using antibiotics. “That actual, particularized
13    injury is sufficient to establish standing.” Id.
14          In another Rule 12(b)(1) challenge involving consumer standing, a prenatal vitamin
15    company defendant, NaturesPlus, defended the presence of heavy metals in its vitamins
16    by arguing that the consumer did not have an injury because she knew what she was
17    buying. The district court rejected that argument by stating:
18
            NaturesPlus apparently overlooks that this is precisely what Ms. Barnes
19          alleges: that the inclusion, or risk of inclusion, of Heavy Metals was not
20          disclosed on the label, and if it had been, she would not have paid for the
            Prenatal Vitamins. The Court declines to consider other arguments, supported
21          by non-binding, out-of-circuit cases, that are unpersuasive given that the
22          caselaw squarely supports Ms. Barnes’ standing.
      Barnes v. Nat. Organics, Inc., No. EDCV22314JGBPLAX, 2022 WL 4283779, at *4
23
      (C.D. Cal. Sept. 13, 2022) (emphasis added). Similarly, Plaintiffs here would not have
24
      purchased Whole Foods Beef Products if they knew, contrary to the “No Antibiotics,
25
      Ever” promise, that Plaintiffs were at risk of purchasing from a supply chain using
26
      antibiotics.
27


                     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
                                                 9
     Case 8:22-cv-01562-JWH-KES      Document 48 Filed 02/09/23       Page 15 of 29 Page ID
                                           #:464



 1           Defendants cite a case about the Bumbo baby seat to argue that the plaintiff failed
 2    to allege an actual injury. In Whitson v. Bumbo, No. 07-cv-05597-MHP, 2009 WL
 3    1515597 at *4 (N.D. Cal. Apr. 16, 2009), the court dismissed because the named plaintiff
 4    “has not alleged how or whether she used her Bumbo seat, nor has she alleged that she or
 5    a child on whose behalf she has standing to sue was injured by the seat.” Here, Consumer
 6    Plaintiffs’ actual injury is purchasing misleadingly marketed Beef Products.
 7          To the extent that baby seat safety cases are applicable to food marketing cases,
 8    Plaintiffs’ case is more like Oceguera v. Baby Trend, Inc., No. 521CV00398JWHKKX,
 9    2022 WL 1599869 (C.D. Cal. Jan. 14, 2022). Defendant Baby Trend also challenged the
10    plaintiff Oceguera’s standing under Rule 12(b)(1), and this Court concluded:
11
            Plaintiffs allege that they would not have purchased the Booster Seats if Baby
12          Trend had properly disclosed that the seats were safe only for children who
13          weigh at least 40 pounds. That allegation sufficiently constitutes an allegation
            of an injury in fact and conveys Article III standing.
14

15    Oceguera, 2022 WL 1599869 at *4. Likewise, Consumer Plaintiffs allege that they
16    would not have purchased Beef Products had they known the truth that Whole Foods
17    does not verify its advertising and that Whole Foods’ “No Antibiotics, Ever” slogan
18    really meant “No Antibiotics, Sometimes.”
19                  2.    The Consumer Plaintiffs Pled an Economic Injury.
20          An economic injury is a concrete and particularized injury. In Hodsdon, the
21    Northern District of California held that consumer plaintiffs can have standing under the
22    Unfair Competition Law (UCL), Consumers Legal Remedies Act (CLRA), and the False
23    Advertising Law (FAL) when (1) they allege that a consumer paid more than they actually
24    valued the product; (2) the plaintiff adequately alleged that the production method in the
25    supply chain caused them to devalue the product even if they could not prove that
26    production method was used to produce the specific products that they purchased; and (3)
27    the plaintiff adequately alleged that they saw the product labels or advertisements before

                 PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
                                             10
     Case 8:22-cv-01562-JWH-KES       Document 48 Filed 02/09/23        Page 16 of 29 Page ID
                                            #:465



 1    they purchased the products. Hodsdon at 1022.4
 2          The Consumer Plaintiffs here also have standing under the UCL and FAL, which
 3    requires an economic injury: private plaintiffs “ha[ve] suffered injury in fact and ha[ve]
 4    lost money or property as a result of the unfair competition” or false advertising. Hinojos,
 5    718 F.3d at 1103 (quoting Cal. Bus. & Prof. Code § 17204 (UCL); citing id. § 17535
 6    (FAL)) (alterations in original). In Hinojos, the Ninth Circuit examined the California
 7    Supreme Court’s decision in Kwikset Corp. v. Superior Court, which held that a “‘a
 8    consumer who relies on a product label and challenges a misrepresentation contained
 9    therein can satisfy the standing requirement of [the UCL and the FAL] by alleging ... that
10    he or she would not have bought the product but for the misrepresentation,’” and that
11    “such allegations are sufficient to establish economic injury within the meaning of [those
12    statutes].” Id. at 1105 (quoting Kwikset, 51 Cal.4th 310, 330, 120 Cal.Rptr.3d 741, 246
13    P.3d 877 (2011)) (ellipsis in original). Further, “‘the consumer paid more than he or she
14    actually valued the product. That increment, the extra money paid, is economic injury and
15    affords the consumer standing to sue.’” Id. at 1104 (quoting Kwikset, 51 Cal.4th at 330).
16          In Kwikset and Hinojos, plaintiffs who relied on the defendants’ representations
17    about their products—advertising Made in U.S.A. and “reduced price,” respectively—had
18    standing to sue under the UCL and FAL. Id. at 1107; Kwikset, 51 Cal.4th at 330, 120
19    Cal.Rptr.3d 741, 246 P.3d 877. Those courts also listed several other scenarios where a
20    plaintiff’s reliance on false advertising could give rise to standing: “meat falsely labeled
21    as kosher or halal, wine labeled with the wrong region or year, blood diamonds mislabeled
22    as conflict-free, and goods falsely suggesting they were produced by union
23

24    4
       Courts in the Ninth Circuit agree that for a plaintiff to properly allege economic injury,
25    a plaintiff need only allege that it received less due to the defendant’s unfair and fraudulent
      conduct. See, e.g., Open Text, Inc. v. Northwell Health, Inc., No. 2:19-CV-09216-SB-AS,
26    2020 WL 8025315, at *3 (C.D. Cal. Dec. 11, 2020) (alleging that unfair and fraudulent
      conduct resulted in plaintiff receiving less confers standing); McCoy,
27    173 F.Supp.3d at 963.


                  PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
                                              11
     Case 8:22-cv-01562-JWH-KES       Document 48 Filed 02/09/23         Page 17 of 29 Page ID
                                            #:466



 1    labor.” Hinojos, 718 F.3d at 1105 (citing Kwikset, 51 Cal.4th at 328–29, 120 Cal.Rptr.3d
 2    741, 246 P.3d 877).
 3          Here, Plaintiffs allege that they “purchased the Beef Products at a premium price
 4    because, based on Whole Foods’ representations, [they] believed all Beef Products
 5    available for sale from Whole Foods were derived from cattle raised without antibiotics
 6    or pharmaceuticals.” FAC ¶¶ 13, 20 (emphasis added). Plaintiffs specifically alleged that
 7    if they had “known that cattle used in Whole Foods Beef Products were raised with
 8    antibiotics,” they “would not have purchased or would not have paid what” they did for
 9    them. FAC ¶¶ 15, 22. Consumer Plaintiffs’ claims that they “would have paid less for (or
10    declined to purchase) [Whole Foods’ Beef] products but for [Whole Foods’]
11    misrepresentations of the [animal raising] practices in its supply chain fits well within the
12    above examples.” McCoy, 173 F. Supp. at 963. Thus, Consumer Plaintiffs have adequately
13    alleged standing.
14          B.     Farm Forward Alleged Organizational Standing.
15          The facts before this Court, when accepted as true and construed in the light most
16    favorable to Plaintiffs, demonstrate that Farm Forward has suffered injuries sufficient to
17    establish standing at this stage of the litigation. In the First Amended Complaint, Plaintiffs
18    allege how Defendants’ unlawful actions have both frustrated Farm Forward’s mission
19    and caused them to expend resources to combat the Defendants’ actions. FAC ¶¶ 80-94.
20    This is all that is required at this stage. See Bennett, 520 U.S. at 171 (noting that a
21    plaintiff’s burden is “relatively modest at this stage of the litigation.”).
22          The Supreme Court applied the Article III standing test, see, e.g., Friends of the
23    Earth v. Laidlaw Envtl. Servs., 528 U.S. 167, 180-81 (2000); Lujan, 504 U.S. at 560, in
24    Havens Realty Corp. v. Coleman, 455 U.S. 363 (1982), to recognize that a public interest
25    organization has a legally protected interest to pursue its charitable mission. The Havens
26    plaintiff, a housing rights association, operated a housing counseling service and
27    investigated housing discrimination complaints. See id. at 368. The Court observed that

                  PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
                                              12
     Case 8:22-cv-01562-JWH-KES       Document 48 Filed 02/09/23        Page 18 of 29 Page ID
                                            #:467



 1    “injury to the organization’s activities—with the consequent drain on the organization’s
 2    resources—constitutes far more than simply a setback to the organization’s abstract social
 3    interests.” Id. at 379. When an organization is forced to divert its resources to “identify
 4    and counteract” unlawful activity that frustrates its mission, “there can be no question that
 5    organization has suffered an injury in fact” sufficient “to warrant his invocation of federal-
 6    court jurisdiction.” Id. at 378-79 (stating that organization has standing to sue when
 7    “concrete and demonstrable injury to the organizations’ activities” results “consequential
 8    drain on the organization’s resources”); see also Fair Hous. Council v. Roommate.com
 9    LLC, 666 F.3d 1216, 1219 (9th Cir. 2012). Thus, consistent with well-established Supreme
10    Court and Ninth Circuit precedent, Farm Forward alleged that the challenged conduct (1)
11    frustrated its mission and (2) that it diverted resources to alleviate its harms. Am. Diabetes
12    Ass’n v. U.S. Dep’t of the Army, 938 F.3d 1147, 1154 (9th Cir. 2019).
13
                   1.       Farm Forward Alleged Frustration of Mission.5
14
            Farm Forward’s stated mission is to end factory farming. See, e.g., FAC ¶ 2. In
15
      support of this mission, Farm Forward promotes “constant improvement in farmed animal
16
      welfare practices.” FAC ¶ 81. In advance of this mission and for more than a decade, Farm
17
      Forward worked alongside Defendants’ representatives to support and promote products
18
      that Defendants sold with the promise of “No Antibiotics, Ever.” FAC ¶ 82. Farm Forward
19
      spent thousands of hours “working alongside Whole Foods” on its animal welfare
20
      standards. Id. Not only did Farm Forward work with Whole Foods on these standards, but
21
      it also promoted Whole Foods’ Beef Products on its website, and through a web-based
22
      consumer guide as “better” and “best” choices for consumers to “make a difference every
23

24

25    5
       Defendants do not argue that Farm Forward did not adequately allege frustration of
      mission and thus Defendants waive that argument. Zamani v. Carnes, 491 F.3d 990, 997
26
      (9th Cir. 2007) (stating district court need not consider arguments raised for first time in
27    reply brief). However, since standing is jurisdictional, Plaintiffs discuss both frustration
      of mission and diversion of resources.
                  PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
                                              13
     Case 8:22-cv-01562-JWH-KES      Document 48 Filed 02/09/23       Page 19 of 29 Page ID
                                           #:468



 1    time they visit the grocery store.” FAC ¶ 82. During the end of its tenure working with
 2    Whole Foods, Farm Forward discovered that the same Beef Products it was promoting as
 3    better and best choices for its members and the public were not produced in conformity
 4    with its mission. FAC ¶ 85. This frustrated Farm Forward’s mission because the
 5    organization found that it was promoting products that did not align with its stated goals.
 6    FAC ¶ 86; id. at 87 (“Whole Foods’ marketing of meat as Animal Welfare Certified and
 7    having “No Antibiotics, Ever” when, in fact, the meat comes from factory and other
 8    farms that administer antibiotics to cattle, conflicted with Farm Forward’s endorsement
 9    of Whole Foods’ meat—advertised as purportedly Animal Welfare Certified and
10    having “No Antibiotics, Ever”—as “better” and “best” choices for consumers.”).
11          Plaintiffs allege that had “Farm Forward not investigated and exposed Whole
12    Foods’ false meat advertising claims, the organization would have suffered injury to its
13    reputation, and lost the support of both the public and the highest welfare farmers and
14    ranchers, many of whom had expressed frustration with Whole Foods, and frustration
15    with Farm Forward for their ongoing support of GAP.” FAC ¶ 94. The reputational and
16    financial harm that comes from promoting products that do not align with an
17    organization’s stated mission is an actual impediment to an organization’s real-world
18    efforts on behalf of its mission. Jimenez v. Tsai, 2017 WL 2423186, at *11 (N.D. Cal.
19    June 5, 2017); In Defense of Animals v. Sanderson, No. 20-CV-05293-RS, 2021 WL
20    4243391, at *3 (N.D. Cal. Sept. 17, 2021) (citing Jimenez v. Tsai, 2017 WL 2423186, at
21    *11 (N.D. Cal. June 5, 2017) (frustration of mission cannot be just a setback to an
22    organization’s values or interests, it must result in “an actual impediment to the
23    organization’s real-world efforts on behalf of such principles”); see also Havens, 455
24    U.S. 363, 379 (1982) (discussing “injury to the organization’s activities”); Pierce v.
25    Ducey, 965 F.3d 1085, 1089 (9th Cir. 2020) (per curiam) (“To be ‘concrete,’ the injury
26    ‘must actually exist’—an abstract, theoretical concern will not do.” (citation omitted));
27    Herb Reed Enterprises, LLC v. Florida Entertainment Management, Inc. 736 F.3d 1239,

                  PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
                                              14
     Case 8:22-cv-01562-JWH-KES     Document 48 Filed 02/09/23       Page 20 of 29 Page ID
                                          #:469



 1    1250 (9th Cir. 2013) (“[e]vidence of … damage to [a business’s] goodwill [can]
 2    constitute irreparable harm”); Stuhlbarg Int’l Sales Co. v. John D. Brush and Co., Inc.
 3    (9th Cir. 2001) 240 F.3d 832, 841; MySpace, Inc. v. Wallace, 498 F.Supp.2d 1293, 1305
 4    (C.D. Cal. 2007); Hubbard Business Plaza v. Lincoln Liberty Life Ins., 649 F. Supp.
 5    1310, 1317 (D.Nev. 1986), aff’d. 844 F.2d 792 (9th Cir. 1988) (damage to business
 6    reputation and interests from allegedly fraudulent draw of letter of credit constitutes
 7    irreparable injury.)
 8
 9
                   2.        Farm Forward Diverted Resources to Combat Defendants’
                             Misleading Representations.
10
            The diversion of resources element requires a change in resource allocation to
11
      combat a defendant’s unlawful activity. Am. Diabetes Ass’n, 938 F.3d at 1154. An
12
      organizational plaintiff must show they would have suffered some other injury if it had
13
      not diverted resources to counteract the problem. Sabra v. Maricopa County Community
14
      College, 44 F.4th 867 (2022). In Sabra, the district court incorrectly held that the
15
      organization’s activities were “business as usual” and that the organization did not have
16
      standing. Sabra, 44 F.4th at 879.
17
            [The organization] ha[d] not effectively shown that it would have suffered
18          an injury if it had not diverted resources to counteract [ the] allegedly
            ‘Islamophobic’ teachings. The allegedly offending course material, the court
19          said, was more ‘akin to a mere social setback for CAIR-AZ’s abstract
            social interest[s],’ and the organization had not demonstrated ‘a diversion
20          of resources that [was] not a normal part of [its] activities.
21    Id.
22          Reversing on the business-as-usual argument, the Ninth Circuit held that in this
23    Circuit, a public interest organization “committed to advocacy and protecting the civil
24    rights of American Muslims” had standing when it diverted its “resources to create a
25    campaign correcting the Islamophobic information in course materials” and “contracting
26    with a religious scholar to develop materials for this campaign.” Id. The Court pointed to
27    Fair Housing Council, reaffirming the Ninth Circuit’s precedent that an organizational


                  PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
                                              15
     Case 8:22-cv-01562-JWH-KES       Document 48 Filed 02/09/23      Page 21 of 29 Page ID
                                            #:470



 1    plaintiff that spends “resources investigating the defendant’s alleged discriminatory
 2    actions and developing ‘new education and outreach campaigns’ to combat those actions”
 3    has organizational standing. Sabra, 44 F.4th at 880 (quoting Fair Housing Council, 666
 4    F.3d at 1219). Because the defendant’s actions caused the plaintiffs “to divert resources
 5    independent of litigation costs and frustrated their central mission,” the plaintiffs had
 6    organizational standing. Id. “So it is here.” Id.
 7          Defendants’ standing argument is plainly inconsistent with recent Ninth Circuit
 8    caselaw, including Sabra v. Maricopa County Community College. If a public interest
 9    organization “committed to advocacy and protecting the civil rights of American
10    Muslims” had standing to bring a First Amendment challenge against allegedly
11    Islamophobic course materials taught by a community college professor because the
12    organization “had to divert its resources to create a campaign correcting the
13    Islamophobic information,” Sabra, 44 F.4th at 880, then a public interest organization
14    committed to ending factory farming has standing to bring an unfair competition and
15    false advertising challenge when a business knowingly deceives both the organization
16    and the public about its products, and the public interest organization investigates and
17    exposes the deception, contracts with a laboratory in order to do so, initiates a new
18    campaign exposing the truth about the company’s products, and would suffer financial
19    and reputational harm if it had not done these things.
20          As in Fair Housing Council, Whole Foods’ actions frustrated Farm Forward’s
21    mission and caused it to expend resources unrelated to litigation, resources that otherwise
22    would have been spent on other programs, including its Pandemics campaign. FAC ¶ 92.
23    The articles that Defendants suggest this Court should judicially notice do not advance
24    their arguments. First, the articles are from 2022, after Defendants frustrated Farm
25    Forward’s mission by deceiving Farm Forward into promoting products that conflict with
26    its mission, and after Farm Forward diverted resources (beginning in 2020) from
27    promoting Whole Foods to investigating, exposing, and campaigning to expose the truth

                  PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
                                              16
     Case 8:22-cv-01562-JWH-KES       Document 48 Filed 02/09/23        Page 22 of 29 Page ID
                                            #:471



 1    about Whole Foods’ products. FAC ¶¶ 86-94. Indeed, these articles are an example of
 2    Farm Forward allocating resources to its new campaign about Whole Foods’ supply chain.
 3    These articles show that after a decade of working with Whole Foods to promote its
 4    products and relying on Defendants’ statements regarding its products, Farm Forward was
 5    forced to expose the company and its products as not consistent with Farm Forward’s
 6    mission and its members’ and the public’s goals of purchasing a better or best product, or
 7    suffer harm to its own organization. Had Farm Forward not investigated Whole Foods’
 8    Beef Products, hired a third-party testing laboratory, and started a new campaign exposing
 9    Whole Foods’ false and misleading statements, then Farm Forward would have been
10    complicit in the deception because it was previously promoting those very products, and
11    it would have lost the support of the public and farmer and rancher partners. FAC ¶ 85.
12          Second, these articles underscore that Farm Forward allocated its resources
13    differently because of Whole Foods’ misrepresentations. Farm Forward alleges that it
14    donated thousands of hours of its time to working with Whole Foods to improve the lives
15    of the animals in its supply chain over the course of 12 years. FAC ¶ 82. Yet, as the articles
16    show, in 2020, Farm Forward resigned from this work and diverted those resources to
17    investigating Whole Foods’ supply chain, testing products, and developing a new public
18    awareness campaign rebutting the misinformation in Whole Foods’ ads. FAC ¶¶ 89-91;
19    see also Sabra, 44 F.4th at 880. Due to Whole Foods’ deception—and its refusal in 2017
20    to even explore an internal verification program which would have assuaged Farm
21    Forward’s concerns—Farm Forward had to expose Whole Foods’ deception to avoid harm
22    to the organization.
23          Because Farm forward has alleged that Whole Foods’ actions frustrated its
24    organizational mission and caused it to divert resources to counteract Whole Foods’ public
25    misrepresentations, Farm Forward has stated sufficient facts to establish Article III
26    standing at the motion-to-dismiss stage of the litigation. Sabra, 44 F.4th at 800.
27


                  PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
                                              17
     Case 8:22-cv-01562-JWH-KES       Document 48 Filed 02/09/23      Page 23 of 29 Page ID
                                            #:472



 1    II.     Plaintiffs Plead with Particularity.
 2            To satisfy Rule 9(b), the allegations in the complaint must be “specific enough to
 3    give defendants notice of the particular misconduct which is alleged to constitute the fraud
 4    charged so that they can defend against the charge and not just deny that they have done
 5    anything wrong.” Semegen v. Weidner, 780 F.2d 727, 731 (9th Cir. 1985). Thus, claims
 6    sounding in fraud must allege “an account of the time, place, and specific content of the
 7    false    representations   as   well   as   the   identities   of   the   parties   to   the
 8    misrepresentations.” Swartz v. KPMG LLP, 476 F.3d 756, 764 (9th Cir. 2007). In other
 9    words, “[a]verments of fraud must be accompanied by ‘the who, what, when, where, and
10    how’ of the misconduct charged.” Vess v. Ciba-Geigy Corp. USA, 317 F. 3d 1097, 1106
11    (9th Cir. 2003) (citation omitted).
12            In Clancy v. Bromley Tea Co., 308 F.R.D. 564, 576 (N.D. Cal. 2013), Federal Rule
13    9(b) was satisfied when the plaintiff alleged the who (the company), what (nine discrete
14    types of unlawful and deceptive claims by defendants on the labeling and packaging of its
15    products and on defendants’ website), when (since 2008 and throughout the class period),
16    where (defendants’ package labels and website), and how (reasonable reliance on
17    defendants’ statements made in violation of California consumer protection laws). Here,
18    Plaintiffs do just that:
19            Who. When there are multiple defendants in a case, “Rule 9(b) does not allow a
20    complaint to merely lump multiple defendants together but ‘require[s] plaintiffs to
21    differentiate their allegations when suing more than one defendant ... and inform each
22    defendant separately of the allegations surrounding his alleged participation in the
23    fraud.’” Swartz, 476 F.3d at 764–65 (citation omitted). Here, Plaintiffs allege that
24    Defendant Whole Foods Market Services is responsible for the content and design of
25    Whole Foods’ website, including the advertising. FAC ¶ 24. Plaintiffs allege that Mrs.
26    Gooch’s and Whole Foods Market California own and operate the stores in their respective
27    regions in California, FAC ¶¶ 26, 28, and subsequently are responsible for in-store

                   PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
                                               18
     Case 8:22-cv-01562-JWH-KES      Document 48 Filed 02/09/23        Page 24 of 29 Page ID
                                           #:473



 1    advertising.
 2          What. Defendants’ discrete claims that its Beef Products are never produced with
 3    antibiotics and that Defendants verify that standard. Plaintiffs identify Whole Foods’ “No
 4    Antibiotics, Ever” promotional campaign and address this slogan fifty times in the FAC.
 5    FAC at passim. By using this phrase, Defendants unequivocally claim that Whole Foods’
 6    baseline standard is that the animals raised for Whole Foods’ Beef Products are never
 7    administrated antibiotics and if they are, they are “separated from those bought by [its]
 8    meat department” and “[i]f it doesn’t meet [their] standards, [they] won’t sell it.” FAC ¶¶
 9    44-45.
10          When. Plaintiffs “saw and relied upon Whole Foods’ representations from
11    approximately 2010 to June 2022, including every time [they] shopped at Whole Foods.”
12    FAC ¶¶ 10, 12, 17, 19.
13          Where. Plaintiffs allege that they saw and relied on Whole Foods’ “No Antibiotics,
14    Ever” slogans prior to purchasing the Beef Products. FAC ¶¶ 12, 19. Plaintiffs saw and
15    relied on Whole Foods representations concerning its Beef Products in-store, on its
16    website, in its listings on Amazon.com, and on the Products’ packaging. Id.
17          How. Consumer Plaintiffs represent reasonable consumers. They were exposed to
18    and relied on Defendants’ assurances that its Beef Products are raised with “No
19    Antibiotics, Ever,” and that Defendants took the necessary steps to ensure the accuracy of
20    this key promise.6 See, e.g., FAC ¶ 77. Yet, Plaintiffs allege that the cattle that become
21    Whole Foods’ Beef Products were given antibiotics, as evidenced by the residue testing,
22

23    6
        Under the reasonable consumer standard, a plaintiff must “show that ‘members of the
24    public are likely to be deceived.’” Freeman v. Time, 68 F.3d 285, 289 (9th Cir. 1995)
      (quoting Bank of West v. Superior Court, 2 Cal.4th 1254, 1267, 10 Cal.Rptr.2d 538, 833
25
      P.2d 545 (1992)). California’s consumer protection laws prohibit “not only advertising
26    [that] is false, but also advertising which [,] although true, is either actually misleading
27
      or which has a capacity, likelihood or tendency to deceive or confuse the public.” Leoni
      v. State Bar, 39 Cal.3d 609, 626, 217 Cal.Rptr. 423, 704 P.2d 183 (1985)).

                  PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
                                              19
     Case 8:22-cv-01562-JWH-KES      Document 48 Filed 02/09/23      Page 25 of 29 Page ID
                                           #:474



 1    FAC ¶ 56 (“Whole Foods Beef Products contain … antibiotic residue”); that Whole Foods
 2    sells GAP certified Beef Products, FAC ¶¶ 54-55; that a significant percent of GAP
 3    certified Beef Products—one out of every five—tested positive for antibiotics as
 4    confirmed by a peer-reviewed study, FAC ¶¶ 62-63; and that Whole Foods was aware that
 5    its meat tested positive for antibiotics and chose to do nothing about it, FAC ¶¶ 66-67.
 6    Because of Defendants’ statements, Plaintiffs were deceived into purchasing Beef
 7    Products from a supply chain that employs the very practices that Plaintiffs paid a
 8    premium to avoid. FAC ¶¶ 13, 20 (“Choosing antibiotic-free meat is important to
 9    [Plaintiffs] because [they do] not want to fund or support a farming model that uses
10    pharmaceuticals, including antibiotics, as part of raising the animals in crowded,
11    unsanitary conditions.”). Plaintiffs would not have purchased the products, or paid what
12    they did for them, had they known that Defendants did not take the necessary steps to
13    ensure that all Defendants’ Beef Products conformed to the “No Antibiotics, Ever”
14    promise. FAC ¶¶ 14-15, 21-22, 77-78.
15    III.   Plaintiffs Plead Breach of Warranty.
16           In California, to prove a claim based on breach of an express warranty, a plaintiff
17    must show that the seller: “(1) made an affirmation of fact or promise or provided a
18    description of its goods; (2) the promise or description formed part of the basis of the
19    bargain; (3) the express warranty was breached; and (4) the breach caused injury to the
20    plaintiff.” Blennis v. Hewlett Packard Co., No. C07-00333 JF, 2008 WL 818526, *2 (N.D.
21    Cal. Mar. 25, 2008). “[P]roduct advertisements, brochures, or packaging can serve to
22    create part of an express warranty.” Rosales v. FitFlop USA, LLC, 882 F. Supp. 2d 1168,
23    1178 (S.D. Cal. 2012). This requires “a specific factual statement which could be
24    established or disproved through discovery.” Annunziato v. eMachines, Inc., 402 F.
25    Supp.2d 1133, 1140-41 (C.D. Cal. 2005).
26           Here, Plaintiffs pled the requisite elements: Whole Foods misrepresented that its
27    Beef Products were “No Antibiotics, Ever” and that “If it doesn’t meet our standards, we

                  PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
                                              20
     Case 8:22-cv-01562-JWH-KES      Document 48 Filed 02/09/23        Page 26 of 29 Page ID
                                           #:475



 1    won’t sell it,” and these representations induced consumers, like the Consumer Plaintiffs,
 2    to purchase the products. These allegations are testable, and their veracity can “be
 3    established or disproved through discovery.” Id. at 1140-41.
 4    IV.   Plaintiffs Plead Unjust Enrichment.
 5          When a plaintiff alleges unjust enrichment, a court may “construe the cause of
 6    action as a quasi-contract claim seeking restitution.” Rutherford Holdings, LLC v. Plaza
 7    Del Rey, 223 Cal.App.4th 221, 166 Cal.Rptr.3d 864, 872 (2014). Melchior v. New Line
 8    Productions, Inc., 106 Cal.App.4th 779, 793 (2003) (unjust enrichment is synonymous
 9    with restitution). There is no particular pleading necessary to invoke restitution. Dinosaur
10    Development, Inc. v. White, 216 Cal.App.3d 1310, 1315 (1989). The principles of unjust
11    enrichment and restitution are nearly identical and require the receipt of a benefit and
12    unjust retention of the benefit at the expense of another. Id.
13          The First Amended Complaint alleges a right to restitution and the cause of action’s
14    label is immaterial. Plaintiffs have pled that Defendants have been unjustly conferred a
15    benefit through “mistake, fraud, coercion, or request.” Astiana v. Hain Celestial Grp., Inc.,
16    783 F.3d 753, 762 (9th Cir. 2015) (internal citation omitted). Due to Whole Foods’
17    misrepresentations, Defendants received substantial revenue and financial benefits at the
18    expense of Plaintiffs and consumers. FAC ¶¶ 150-153.
19                                              CONCLUSION

20          For the foregoing reasons, Plaintiffs request that this Court deny Defendants’
21    Motion to Dismiss.
22

23

24

25

26

27


                  PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
                                              21
     Case 8:22-cv-01562-JWH-KES   Document 48 Filed 02/09/23       Page 27 of 29 Page ID
                                        #:476



 1
      DATED: February 9, 2023            Respectfully submitted,

 2
                                        /s/ Paige M. Tomaselli
 3                                      Paige M. Tomaselli (SBN 237737)
                                        Dylan D. Grimes (SBN 302981)
 4
                                        GRIME LAW LLP
 5                                      730 Arizona Avenue
                                        Santa Monica, CA 90401
 6
                                        Telephone: (310) 747-5095
 7                                      ptomaselli@grimelaw.com
                                        dgrimes@grimelaw.com
 8
 9                                      /s/ Gretchen Elsner
10
                                        Gretchen Elsner
                                        ELSNER LAW & POLICY, LLC
11                                      314 South Guadalupe Street, Suite 123
12
                                        Santa Fe, NM 87501
                                        Telephone: (505) 303-0980
13                                      gretchen@elsnerlaw.org
14
                                        Attorneys for Plaintiffs
15

16

17

18

19

20

21

22

23

24

25

26

27


                 PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
                                             22
     Case 8:22-cv-01562-JWH-KES     Document 48 Filed 02/09/23      Page 28 of 29 Page ID
                                          #:477



 1                               CERTIFCATE OF COMPLIANCE
 2          The undersigned, counsel of record for Plaintiffs, certifies that this Memorandum
 3    of Points and Authorities contains 6998 words, as reported by the word count function of
 4    the word-processing system used to prepare this memorandum, which complies with the
 5    word limit of L.R. 11- 6.1.
 6

 7
       Dated: February 9, 2023                    Respectfully submitted,

 8                                                /s/ Paige M. Tomaselli
                                                  Paige M. Tomaselli (Bar ID CA 237737)
 9                                                GRIME LAW, LLP
                                                  730 Arizona Avenue
10
                                                  Santa Monica, CA 90401
11                                                ptomaselli@grimelaw.com
                                                  Telephone: (310) 747-5095
12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27


                 PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
                                             23
     Case 8:22-cv-01562-JWH-KES       Document 48 Filed 02/09/23       Page 29 of 29 Page ID
                                            #:478



 1

 2                                CERTIFICATE OF SERVICE
 3          I hereby certify that on February 9, 2023, I electronically filed the foregoing
 4    document using the Court’s CM/ECF system, which will send notification of the filing of
 5    this document to the e-mail addresses registered in the CM/ECF system, as denoted on the
 6    Electronic Mail Service List.
 7

 8
       Dated: February 9, 2023               Respectfully submitted,

 9                                           /s/ Paige M. Tomaselli
10                                           Paige M. Tomaselli (Bar ID CA 237737)
                                             GRIME LAW, LLP
11                                           730 Arizona Avenue
12                                           Santa Monica, CA 90401
                                             ptomaselli@grimelaw.com
13                                           Telephone: (310) 747-5095
14

15

16

17

18

19

20

21

22

23

24

25

26

27


                 PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
                                             24
